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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF OHIO
EASTERN DIVISION

KAREN EVANS, on behalf of herself and

others similarly situated, | Cage No. 17-cv-515
Plaintiff, Chief Judge: Edmund A. Sargus
y | Magistrate Judge: Elizabeth Preston
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P LL
CONSUMER SALES SOLUTIONS LLC | FINAL ORDER APPROVING
ACTION WITH PREJUDICE

Defendants. |

This matter having come before the Court on May 21, 2019 upon the Motion of
Representative Plaintiff, individually and on behalf of a class of persons, for final approval of a
settlement reached between the Parties, and upon review and consideration of the Settlement
Agreement dated December 10, 2018 (“Settlement Agreement” or “Agreement”), the exhibits to
the Settlement Agreement, the evidence and arguments of counsel presented at the Court
Approval Hearing, and any other submissions filed with this Court in connection with the Court
Approval Hearing, IT IS HEREBY ORDERED and adjudged as follows:

1. The Settlement Agreement is hereby incorporated by reference into this Order
(“Order”), and is hereby adopted by the Court. Capitalized terms in this Order shall, unless
otherwise defined herein, have the same meaning as in the Agreement.

2. For purposes of settlement only, the Settlement Class, as that term is defined in
the Agreement, is found to meet the relevant requirements of Fed. R. Civ. P. 23 (a) and (b)(3).

3. For purposes of settlement only, and pursuant to Fed. R. Civ. P. 23(a) and (b)(3),

the Court hereby finally certifies the Settlement Class. If, for any reason, the Settlement does not
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become effective, this certification shall be null and void and shall not be used or referred to for
any purpose in the Action or any other action or proceedings.

4. For purposes of settlement only, the Court appoints Representative Plaintiff as
representative of the Settlement Class and finds that she meets the relevant requirements of Fed.
R. Civ. P. 23{a).

Ry For purposes of settlement only, the Court appoints JB Hadden, Brian K. Murphy
and Jonathan P. Misny (of Murray Murphy Moul Basil LLP), Anthony Paronich and Edward A.
Broderick (of Broderick and Paronich, P.C.), and Samuel J. Strauss (of Turke and Strauss LLP)
as counsel to the Settlement Class and finds that these attorneys meet the relevant requirements

of Fed. R. Civ. P. 23(a).

6. As set forth in the Class Notice, this Court convened the Court Approval Hearing
at 10:00 a.m. on May 21, 2019.

7. Pursuant to Fed. R. Civ. P. 23, the Settlement of the Action, as embodied in the
terms of the Settlement Agreement, is hereby finally approved as a fair, reasonable, and adequate
settlement of the Action in light of the factual, legal, practical, and procedural considerations
raised by Representative Plaintiff's claims and Defendants’ defenses.

8, The Court finds that the mailed notice previously given to Class Members in the
Action was the best notice practicable under the circumstances, and satisfies the requirements of
due process and Fed. R. Civ. P. 23. The Court further finds that, because (a) adequate notice has
been provided to all Class Members and (b) all Class Members have been given the opportunity
to object to, and/or request exclusion from, the Settlement, it has jurisdiction over all Class
Members. The Court further finds that all requirements of statute (including but not limited to

28 U.S.C. § 1715), rule, and state and federal constitutions necessary to effectuate this
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Settlement have been met and satisfied. This Court further finds that all notice requirements of
28 U.S.C. § 1715 have been properly complied with by Defendants in connection with the
Settlement, and that it has been more than ninety (90) days since the date, December 20, 2018,
on which the notices required under the statute were served upon the appropriate state and
federal officials. Accordingly, no Class Member (excepting only those who are Successful Opt-
Outs) may refuse to comply with or refuse to be bound by the Settlement Agreement or this
Order.

9, After due consideration of Representative Plaintiff's likelihood of success at trial;
the range of Representative Plaintiff's possible recovery; the complexity, expense, and duration
of the litigation; the substance of and lack of any opposition or objections to the Settlement; that
only one member of the Settlement Class Opted-Out from the Settlement; the responses of Class
Members to the Settlement; the state of proceedings at which the Settlement was achieved; the
nature of the negotiations leading to the Settlement; the litigation risks to Representative Plaintiff
and the Class Members; all written submissions, affidavits, and arguments of counsel; and after
notice and a hearing, this Court finds that the terms of the Settlement and the Agreement,
including all exhibits thereto are fair, adequate and reasonable, and are in the best interest of the
Class. In reaching this determination, the Court has specifically considered whether the
Representative Plaintiff and Class Counsel have adequately represented the Settlement Class; the
Settlement was negotiated at arm’s length; the relief provided to the members of the Settlement
Class is adequate, taking into account the costs, risks, and delay of trial and appeal; the
effectiveness of the proposed method for distributing relief to the eligible members of the
Settlement Class, including the method of processing class-member claims; the terms of the

requested award of attorney’s fees and litigation costs, including timing of payment is reasonable
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and appropriate in the context of this Action; and the Settlement treats Class Members equitably
relative to each other. In addition, the Court also considered the absence of any additional
agreement required to be identified under Federal Rule of Civil Procedure 23(e)(3) in reaching
its determination. Accordingly, the Settlement Agreement should be and is finally approved and
shall govern all issues regarding the Settlement and al] rights of the Parties, including the Class
Members.

10. Upon consideration of the application for attorneys’ fees and litigation costs by
Plaintiffs’ Counsel, the aggregate amount of the Attorney Fee/Litigation Cost Award is hereby
fixed at two million thirty seven thousand, fifty nine dollars and sixty five cents ($2,037,059.65).
This aggregate award covers, without limitation, any and all claims for attorneys’ fees and
litigation costs incurred by (a) Plaintiffs’ Counsel, (b) any other counsel representing (or
purporting to represent) Representative Plaintiff or Class Members (or any of them) with respect
to all matters within the scope of the Release, and (c) Representative Plaintiff or the Class
Members (or any of them) in connection with or related to any matter in the Action, the
Settlement, the administration of the Settlement, and any of the matters or claims within the
scope of the Release.

11. | Upon consideration of the application for an award to Representative Plaintiff, the
amount of the Class Representative Award is hereby fixed at ten thousand dollars ($10,000.00).

12. In accordance with the Settlement Agreement, and to effectuate the Settlement,
the Settlement Administrator or Defendants, as applicable under the terms of the Settlement
Agreement, shall cause:

(a) the Benefit Checks to be provided to eligible Class Members in

accordance with the terms of the Agreement;
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(b) the aggregate Attorney Fee/Litigation Cost Award made in Paragraph 10
above to be disbursed to Class Counsel in accordance with the terms of the Agreement:
and

(c) the Class Representative Award made in Paragraph 11 above to be
disbursed to Representative Plaintiff in accordance with the terms of the Agreement and
will be reported on any Form 1099 issued by the Settlement Administrator or Defendants
in connection with the Settlement as “other income.”

13. In the event that the Benefit Check or Second Check (if any), whether
individually or in the aggregate, distributed to a Class Member pursuant to this Settlement
exceed the threshold amounts set by the Internal Revenue Service for reporting by means of a
Form 1099, (a) each Class Member shall complete and return a Form W-9 to the Settlement
Administrator upon request from the Settlement Administrator or Class Counsel; (b) the
Settlement Administrator and Class Counsel shall take reasonable and appropriate steps to obtain
Form W-9s from each Class Member who receives a Benefit Check or Second Check (if any)
and to comply with applicable Internal Revenue Service regulations on issuing Form 1099s
without a social security or tax identification number; and (c) the Settlement Administrator shall
take all reasonable and appropriate steps to avoid the imposition of Internal Revenue Service fees
or penalties against the Settlement Amount (or any portion thereof).

14. The Action and all claims against Defendants are hereby dismissed on the merits
and with prejudice, and the Clerk is directed to enter this Judgment in favor of Defendants in the
Action. The Judgment shall be without costs to any Party.

15. Representative Plaintiff, Plaintiffs’ Counsel and each Class Member (except those

who are Successful Opt-Outs and appear on a list that is on file with the Court under seal to
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protect the privacy of those persons, which list is incorporated herein and made a part hereof)
shall be forever bound by this Order and the Agreement, including the Release and covenants not
to sue set forth in Paragraphs 4.01 to 4.03 of the Settlement Agreement providing as follows:

4.01 Upon Final Approval, and in consideration of the promises and covenants set forth in this
Settlement Agreement, Representative Plaintiff and each Class Member whose phone number
appears on the Class Member List and is not a Successful Opt-out, and each of their respective
spouses, children, executors, representatives, guardians, wards, heirs, estates, successors,
predecessors, next friends, legal representatives, attorneys, agents and assigns, and all those who
claim through them or who assert claims (or could assert claims) on their behalf, and each of
them (collectively and individually, the “Releasing Persons”), and Class Counsel and each of
their past and present law firms, partners, or other employers, employees, agents, representatives,
successors, or assigns (the “Counsel Releasing Parties”) will completely release and forever
discharge the Defendants, as that term is defined in Paragraph 1.17 above, from any and all past,
present and future claims, counterclaims, lawsuits, set-offs, costs, losses, rights, demands,
charges, complaints, actions, causes of action, obligations, or liabilities of any and every kind for
calls concerning the goods or services of the Defendants, including without limitation (i) those
known or unknown or capable of being known, (ii) those which are unknown but might be
discovered or discoverable based upon facts other than or different from those facts known or
believed at this time, including facts in the possession of and concealed by any Released Person,
and (iii) those accrued, unaccrued, matured or not matured, all from the beginning of the world
until today (collectively, the “Released Rights”), that arise out of or in any way relate or pertain
to (a) Released Rights that were asserted, or attempted to be asserted, or could have been
asserted in the Action; (b) the cellphone provision (47 U.S.C. § 227(b)(1)(A)(iii)) of the TCPA,
and any other laws similar in coverage or intent to that provision of the TCPA; (b) attorneys’
fees and costs of any kind or nature, by statute or otherwise, except as provided in the Settlement
Agreement; (c) calls, text messages, or other communications by Defendants or any of the
Released Persons to any telephone number(s) appearing on the Class Phone Number List and
subscribed to or used by the Representative Plaintiff or any Class Member at any time prior to
August 31, 2018; (d) the use by any or all of the Defendants of any “automatic telephone dialing
system,” “automatic dialer,” “automated dialer,” “dialer,” and/or an “artificial or prerecorded
voice” to make “calls” to any number appearing on the Class Phone Number List; (e) statutory
or common law claims predicated upon any alleged violations of the cellphone provision of
TCPA and any other law similar in coverage or intent to the cellphone provisions of the TCPA,
including without limitation any claim under or for violation of federal or state unfair and
deceptive practices statutes, violations of any federal or state debt collection practices acts
(including, but not limited to, the Fair Debt Collection Practices Act, 15 U.S.C. § 1692 et seq.),
invasion of privacy, conversion, breach of contract, unjust enrichment, specific performance
and/or promissory estoppel; and (f) the negotiation, execution and delivery of the Settlement

Agreement.

4.02 The Representative Plaintiff and the Releasing Persons expressly agree that, upon
Final Approval, each will waive and release any and all provisions, rights, and benefits
conferred either (a) by Section 1542 of the California Civil Code or (b) by any law of any
state or territory of the United States, or principle of common law, which is similar,
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comparable, or equivalent to section 1542 of the California Civil Code, with respect to
the claims released pursuant to Paragraph 4.01 above. Section 1542 of the California

Civil Code reads:

Section 1542. General Release; extent. A general release does not extend to
claims which the creditor does not know or suspect to exist in his or her favor at
the time of executing the release, which if known by him or her must have
materially affected his or her settlement with the debtor.

Whether a beneficiary of California law or otherwise, Plaintiff and each of the Releasing
Persons acknowledge that he or she may hereafter discover facts other than or different
from those that he or she knows or believes to be true with respect to the subject matter of
the claims released pursuant to the terms of this Settlement Agreement, but each of those
individuals expressly agree that, upon entry of the final judgment contemplated by the
Settlement Agreement, he and she shall have waived and fully, finally, and forever settled
and released any known or unknown, suspected or unsuspected, asserted or unasserted,
contingent or non-contingent claim with respect to the claims released pursuant to the
Settlement Agreement, whether or not concealed or hidden, without regard to subsequent
discovery or existence of such different or additional facts.

4.03 Upon Final Approval, Class Counsel, for themselves, Plaintiff's Counsel, and
each of his, her or their present and former owners, predecessors, successors, partners,
shareholders, agents (alleged or actual), experts, representatives, employees and affiliates
(“Attorney Releasors”), will unconditionally and irrevocably remise, waive, satisfy,
release, acquit, and forever discharge the Defendant Parties and the Released Persons
from any and all right, lien, title or interest in any attorneys’ fee or award or any claim for
reimbursement of costs in connection with the Action or the Released Rights, except as
otherwise provided in the Settlement Agreement.'

 

’ The term “Released Persons,” as used in the Release, means: “(a) American Power & Gas,
LLC; Consumer Sales Solutions, LLC; AP&G Holdings, LLC; American Power & Gas of CA,
LLC; American Power & Gas of CT, LLC; American Power & Gas of IL, LLC; American
Power & Gas of MA, LLC; American Power & Gas of MD, LLC; American Power & Gas of
ME, LLC; American Power & Gas of NJ, LLC; American Power & Gas of Ohio, LLC;
American Power & Gas of Pennsylvania, LLC; American Power & Gas of TX, LLC; and:CSs
Columbia, SAS (collectively, the “AP&G and CSS Entities”); (b) all subsidiaries or affiliates of
any of the AP&G and CSS Entities; (c) all persons or entities for or on behalf of which any of the
AP&G and CSS Entities made calls to a cellular telephone number of any Class Member
bringing the Class Member within the scope of the Settlement Class; and (d) all past, present and
future predecessors, successors, assigns, affiliates, parents, subsidiaries, divisions, owners,
shareholders, officers, directors, attorneys, vendors, accountants, agents (alleged or actual),
representatives, and employees of each of the entities or persons in subparagraphs (a), (b), and

(c) above.”
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16. The Release set forth in Paragraph 14 above and in the Settlement Agreement
shall have res judicata and other preclusive effect in all pending and future claims, lawsuits,
and/or other proceedings maintained by or on behalf of Representative Plaintiff, Class Members
(except the Successful Opt-Outs) and/or the Releasing Parties concerning matters and claims that
were or could have been asserted in the Action, and/or are encompassed within the scope of the
Release.

17. Defendants and any Released Person are hereby released and forever discharged
by Representative Plaintiff, Class Members (except the Successful Opt-Outs) and the Releasing
Parties from all matiers and claims within the scope of the Release.

18. Representative Plaintiff, Plaintiff's Counsel and each and every Class Member
who is not a Successful Opt-Out are permanently enjoined from bringing, joining, assisting in, or
continuing to prosecute against Defendants and/or any Released Person any existing or future
claim within the scope of the Release, as embodied in Paragraphs 4.01 to 4.03 of the Settlement
Agreement. Nothing in this Paragraph shall be construed to enjoin Representative, Plaintiffs
Counsel, and/or Class Members from bringing, joining, assisting in, or continuing to prosecute
existing or future claims against Defendants and/or any Released Person that were not released
as part of the Settlement.

19, This Court finds that Class Counsel had and continue to have the authority to
execute the Agreement on behalf of themselves and Plaintiffs’ Counsel, and thereby to bind
themselves and Plaintiffs’ Counsel to all terms and conditions of the Agreement. Class Counsel
and Plaintiffs’ Counsel are thus also bound by all provisions of this Order.

20. This Order, the Settlement Agreement, any document referred to in this Order,

any action taken to carry out this Order, any negotiations or proceedings related to any such
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documents or actions, and the carrying out of and entering into the terms of the Agreement, shall
not be construed as, offered as, received as, or deemed to be evidence, impeachment material, or
an admission or concession with regard to any fault, wrongdoing or liability on the part of
Defendants whatsoever in the Action, or in any other judicial, administrative, regulatory action
or other proceeding; provided, however, this Order may be filed in any action or proceeding
against or by Defendants to enforce the Agreement or to support a defense of res judicata,
collateral estoppel, release, accord and satisfaction, good faith settlement, judgment bar or
reduction, or any theory of claim preclusion or issue preclusion or similar defense or
counterclaim.

21. The Parties may, by mutual agreement, amend, modify or expand the provisions
of the Settlement Agreement, including all exhibits thereto, subject to the conditions and
limitations as set forth in the Agreement.

22. In the event that Final Approval is not achieved for any reason, then the
Settlement Agreement, this Order, together with any other orders or rulings arising from or
relating to the Agreement, shall be rendered null and void and be vacated.

23. Except as expressly provided for in this Order, the Settlement Agreement shall
govern all matters incident to the administration of the Settlement hereafter, including as to
deadlines, until further order of this Court or agreement of the Parties.

24. This Order follows this Court’s Order Preliminarily Approving Settlement and
With Respect to Class Notice, Court Approval Hearing and Administration, and supersedes the
Preliminary Approval Order to the extent of any inconsistency.

25. Without in any way affecting the finality of this Order and Judgment for purposes

of appeal, this Court hereby retains jurisdiction as to all matters relating to the interpretation,
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administration, implementation, effectuation and/or enforcement of the Settlement Agreement

and/or this Order.
I.

For the reasons stated above, Plaintiff's Motion for Attorney Fees is GRANTED (ECF
No. 65), and Plaintiff's Unopposed Motion for Final Approval of Class Action Settlement is
GRANTED (ECF No. 67). The Settlement Agreement is hereby incorporated by reference into
this Order and is ADOPTED by the Court. The Clerk is DIRECTED to dismiss this action with
prejudice and enter Judgment in favor of Defendants. The Judgment shall be without costs to
any party.

IT IS SO ORDERED.

S- Ad -d0(4 Po
DATE EDMUNB ARGUS, JR.
CHIER D STATES DISTRICT JUDGE

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